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                                                                               ELECTRONICALLY FILED
                                                                                    Pulaski County Circuit Court
                                                                              Terri Hollingsworth, Circuit/County Clerk
                                                                                 2019-Apr-05 10:00:29
                                                                                    S0CV-19-2287
                                                                                  C06D12: 44 Pages




            IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS
                           - - - - - - DIVISION
LINDSEY HUFF AND CHRIS HUFF                                                     PLAINTIFFS

vs.                             CASE NO. - - - - - - -


ALLSTATE PROPERTY AND CASUALTY
INSURANCE COMPANY                                                              DEFENDANT

                                        COMPLAINT

       Come now the Plaintiffs, Lindsey Huff and Chris Huff, by and through their attorneys,

TAYLOR & TAYLOR LAW FIRM, P.A., and for their Complaint do state:

                               JURISDICTION AND VENUE

       1.      At all times relevant to this Complaint, Plaintiffs were residents of Vilonia,

Faulkner County, Arkansas, and were citizens of the State of Arkansas.

       2.      At all times relevant to this Complaint, Defendant was an insurance company

authorized and doing business in Pulaski County, Arkansas.

       3.      The facts and circumstances giving rise to this Complaint occurred in Faulkner

County, Arkansas.

       4.      This Court has subject matter jurisdiction of this matter pursuant to Ark. Code

Ann.§ 16-13-201(a).

       5.      This Court has personal jurisdiction of the parties pursuant to Ark. Code Ann. §

16-4-IOI(B).




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         6.    Venue in this county is proper pursuant to Ark. Code Ann. § 16-60-101(a)(2)(B)

(county in which defendant had principal place of business).

                                             FACTS

         7.    On or about Decmber 29, 2016, Plaintiff Lindsey Huff was driving her vehicle

westbound on US Highway 64 near the intersection of Sunny Gap Road.

         8.    At the same time, Theresa Heffington (the "Tortfeasor") was driving her vehicle

eastbound on US Highway 64.

         9.    The Tortfeasor attempted to execute a lefthand tum into the Sunny Gap Exxon

Store.

         10.   The Tortfeasor failed to yield to oncoming traffic.

         11.   As a result, Plaintiff Lindsey Huff's vehicle collided with the Tortfeasor's

vehicle.

         12.   Plaintiff Lindsey Huff's vehicle continued northwest and came to rest in a

driveway.

         13.   The Tortfeasor was negligent in the following ways:

               A.     Failure to yield to oncoming traffic in violation of Ark. Code Ann. § 27-

                      51-502;

               B.     Driving too fast for conditions in violation of Ark. Code Ann. §27-51-201;

               C.     Reckless driving in such a manner as to show disregard for the safety of

                      persons and property in violation of Ark. Code Ann. §27-50-308;

               D.     Careless and prohibited acts of driving in violation of Ark. Code Ann.

                      §27-51-104, and other violations of applicable Arkansas traffic laws;

               E.     Failure to keep a proper lookout for other vehicles on the roadway;




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              F.     Failure to drive at a speed that was reasonable under the circumstances;

              G.     Failure to keep the Tortfeasor's vehicle under proper control;

              H.     Failure to use ordinary care to operate the Tortfeasor's vehicle in

                     recognition of the Plaintiff's superior right to use the roadway; and

              I.     Failure to otherwise use ordinary care under the circumstances at the time

                     of the collision.

        14.   As a direct result of this negligence, Plaintiff Lindsey Huff suffered the following

injuries:

              A.     Serious bodily injuries to Plaintiff Lindsey Huff's head, neck, back, chest,

                     and other parts of Plaintiff's body, such injuries including a pulmonary

                     contusion and atelectasis (collapsed lung);

              B.     Medical expenses incurred in the past, and transportation expenses to

                     obtain such medical treatment;

              C.     Future medical expenses to be incurred, and transportation expenses to

                     obtain such future medical treatment;

              D.     Physical pain and disability experienced in the past;

              E.     Physical pain and disability to be experienced in the future;

              F.     Loss of income in the past;

              G.     Loss of income in the future;

              H.     Loss of earning capacity due to permanent physical impairment from the

                     injuries caused by the collision;




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               I.      Mental anguish experienced in the past, which includes but is not limited

                       to Plaintiff's loss of quality of life due to permanent injuries causing

                       chronic pain that limited her activities;

               J.      Mental anguish to be experienced in the future, which includes but is not

                       limited to Plaintiff's loss of quality of life due to permanent injuries

                       causing chronic pain that limits her activities;

               K.      Any scars, disfigurement, and visible results of her injury due to

                       "residential limitation of motion;" Adkins v. Kelley, 244 Ark. 199, 424

                       S.W.2d 373 (1968);

               L.      The reasonable expense of any necessary help in Plaintiffs home in the

                       past, and reasonably certain to be required in the future, as a result of

                       Plaintiff's injuries; and

               M.      Permanent bodily injuries that have been suffered, which is a life-

                       changing event causing Plaintiff to lose the ability to enjoy a normal life.

       15.     As a direct result of this negligence, Plaintiff Chris Huff, who was at all times

relevant hereto the spouse of Plaintiff Lindsey Huff and as such lived and cohabited with her, has

a separate claim for loss of consortium.

       16.     At the time of the incident described hereinabove, Allstate Property and Casualty

Insurance Company was a corporation registered and licensed to sell insurance in the State of

Arkansas.

       17.     Allstate Property and Casualty Insurance Company sold an insurance policy

(policy number 945 291 169) (the "Policy") to Chris Huff.

       18.     The Policy was in force at all times relevant to this litigation.




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        19.    The Policy provided coverage to Lindsey Huff.

       20.     The Policy contained underinsured motorist coverage ("UIM Coverage").

       21.     The UIM Coverage policy limits were $50,000.

       22.     In order to comply with Arkansas Rule of Civil Procedure 10, Plaintiff has

attached hereto a redacted copy of the policy declaration page (Exhibit A) and a sample policy

provided by Defendant (Exhibit B).

       23.     Plaintiffs reached a settlement with the Tortfeasor's insurance company for the

policy limits of $25,000 (the "Settlement").

       24.     Prior to settlement, Plaintiffs strictly complied with the requirements of Ark.

Code Ann. § 23-89-209(c) and/or obtained consent from Allstate Property and Casualty

Insurance Company to settle.

       25.     Given the severity of Plaintiffs' injuries, the Settlement did not adequately

compensate Plaintiffs.

       26.     Therefore, on or about February 12, 2018, Plaintiffs demanded that Defendant

tender the UIM Coverage limits.

       27.     Defendant denied the demand and offered to settle for only $1,500.

       28.     Further, Defendant has not tendered even that low amount, but has offered to pay

$1,500 only if Plaintiffs release all claims against Defendant.

                    CAUSE OF ACTION #1- BREACH OF CONTRACT

       29.     At the time of the wreck described hereinabove, Plaintiffs had in effect with

Defendant the UIM Coverage with policy limits of $50,000.




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          30.   The UIM Coverage provided that in the event Plaintiffs should be involved in a

wreck caused by the negligence of an underinsured motorist, the damages would be compensated

in an amount not to exceed the UIM Coverage policy limits.

          31.   As a direct and proximate result of the Tortfeasor's negligence, Plaintiffs have

suffered injuries as stated hereinabove.

          32.   Under the terms of the UIM Coverage, the Tortfeasor was an underinsured driver,

in that the Tortfeasor only carried a policy of liability insurance with limits of $25,000 per

person.

          33.   This limit was insufficient to compensate Plaintiffs for their damages.

          34.   Defendant has failed to comply with the terms of its own policy of insurance.

          35.   There is no legal basis for Defendant's continuing failure to comply with the

terms of the Policy.

                             CAUSE OF ACTION #2 - BAD FAITH

          36.   At all times relevant herein, Defendant had a duty and agreement to act in good

faith and deal fairly with Plaintiffs when Defendant entered into a contractual agreement with

them and accepted premium payments.

          37.   Defendant thereby assumed a special relationship with, and fiduciary obligations

to, Plaintiffs, and agreed to abide by its respective duties.

          38.   Defendant intentionally breached these duties by engaging in dishonest,

oppressive and malicious acts in an attempt to avoid liability under the UIM Coverage.

          39.   Defendant engaged in dishonest, oppressive, and malicious conduct by, among

other things, consciously disregarding or turning a blind eye to clear medical records and

documentation in the claims file that Plaintiff Lindsey Huff had suffered head, neck, back, chest,




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and other parts of Plaintiffs body, such injuries including a pulmonary contusion and atelectasis

(collapsed lung).

        40.     Defendant engaged in dishonest, oppressive, and malicious conduct by, among

other things, forcing Plaintiffs to seek legal redress. By consciously disregarding or turning a

blind eye to clear evidence, Defendant, knowing it had no legal justification for doing so,

purposefully forced Plaintiffs to file this Complaint in order to obtain the insurance proceeds to

which Plaintiffs are entitled.

       41.      Defendant engaged in dishonest, oppressive, and malicious conduct by, among

other things, setting out to collect the minimum facts it could find to issue a denial. Had

Defendant conducted a competent investigation and review of medical records and bills, the UIM

Coverage limits should have been tendered immediately.

       42.      Defendant has engaged in, in the course of their dealing with Plaintiffs, a pattern

of deception and unfair practices. This dishonest, oppressive, and malicious behavior constitutes

bad faith under Arkansas law.

                                    AMOUNT OF DAMAGES
              (FOR JURISDICTIONAL PURPOSES UNDER ARK. CODE ANN. §              16-63-221)

       43.      Plaintiffs' injuries and damages are in excess of the minimum amount required for

federal court jurisdiction in diversity of citizenship cases.

                                 DEMANDFORTRIALBYJURY

       44.      Plaintiffs demand a trial by jury for all issues of fact presented by this action.

                         RESERVATION OF ADDITIONAL CLAIMS

       45.      Upon completion of discovery, Plaintiffs reserve the right to plead further to state

additional claims and to name additional parties to this action.

                                     PRAYER FOR RELIEF



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       46.      Plaintiffs are entitled to recover all of the damages set forth hereinabove, all of

which exceed the amount of the UIM Coverage limits.

       47.      Plaintiffs are entitled to recover punitive damages against Defendant as a result of

Defendant's dishonest, oppressive, or malicious conduct that amounts to bad faith under

Arkansas law.

       48.      With respect to Plaintiffs' breach of contract claim, Plaintiffs are entitled to

attorney's fees, costs, a 12% penalty, and pre- and post-judgment interest pursuant to Ark. Code

Ann. § 23-79-208.

       49.      Plaintiffs are also entitled to attorney's fees pursuant to Ark. Code Ann. § 16-22-

308 and costs pursuant to Ark. R. Civ. P. 54.

       WHEREFORE, Plaintiffs pray for judgment against Defendant for the damages caused

by Defendant's breaches described above, in an amount as set forth above, and for all other relief

at law or equity to which Plaintiffs may be entitled.

                                                Respectfully submitted,
                                                LINDSEY HUFF AND CHRIS HUFF,
                                                Plaintiffs

                                        BY: Isl Andrew M Taylor
                                            TAYLOR & TAYLOR LAW FIRM, P.A.
                                            Andrew M. Taylor, Ark. Bar No. 2005147
                                            Tasha C. Taylor, Ark. Bar No. 2005148
                                            12921 Cantrell Road, Suite 205
                                            Little Rock, AR 72223
                                            Phone: (501) 246-8004
                                            Fax: (501) 246-8009
                                            Email: Andy@TaylorLawFirm.com
                                                    Tasha@TaylorLawFirm.com

                                                Attorneys for Plaintiffs




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                                                                                                              ~ Allstate.         You're in good hands.


                                                                                                              Information as of October 4, 2016
Hervey Insurance                                                                                              Policyholder(s)                          Page 1 of 2
1214 Hogan Ln #100
Conway AR 72034
                                                                                                              Chris Huff



                                                                                                              Your Allstate agency is
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  CHRIS HUFF
  7 WHISPERING WIND CIR
  VILONIA AR 72173-9502




  Continue enjoying great savings and safe driving rewards
  We're pleased to offer to renew your automobile policy with Your Choice Auto® Gold Protection for another six
  months, so you can continue enjoying extra savings and safe driving rewards, including Safe Driving Deductible
  Reward and Enhanced Accident Forgiveness. t

  Renewing your policy is easy-when you receive your bill, just send your payment by the due date. And if you're
  enrolled in Allstate ® Easy Pay Plan, we'll send you your payment withdrawal schedule. (Not enrolled? Call your
  Allstate Agent to sign up!)

  How to contact us
  Please give your Allstate Agent a call at (501) 336-0427 if you have any questions. It's our pleasure to keep you
  in good hands.



    t Th is is a brief description and not part of any contract of insurance. Guaranteed Renewal for Claims feature provides that policy will not be
    dropped just because of the number of claims filed. Features are optional and subject to terms and conditions.




  Sine e ,

  Steven P. Sorenson
  President, Allstate Property and Casualty Insurance Company
                                                                                                                                                 RA733-2
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Policy number:                                                                                                                      Page 2 of 2
Policy effective date:




Your Insurance Coverage Checklist
We're happy to have you as an Allstate customer! This checklist outlines what's in this package and provides answers to some
basic questions, as well as any "next steps" you may need to take.

•   What's in this package?                                                 •      What about my bill?
    See the guide below for the documents that are included.                       Unless you've already paid your premium in full, we'll send
    Next steps: review your Policy Declarations to confirm you                     your bill separately. Next steps: please pay the minimum
    have the coverages, coverage limits, premiums and                              amount by the due date listed on it.
    savings that you requested and expected. Read any                              You can also pay your bill online at allstate.com or by
    Endorsements or Important Notices to learn about new                           calling 1-800-ALLSTATE (1-800-255-7828). Para
    policy changes, topics of special interest, as well as                         espanol, Ila mar al 1-800-979-4285. If you're enrolled in
    requ ired communications. Keep all of these documents                          the Allstate® Easy Pay Plan, we'll send you a statement
    with your other important insurance papers.                                    detailing your payment withdrawal schedule.

•   Am I getting all the discounts I should?                                •      What if I have questions?
    Confirm with your Allstate Agent that you're benefiting                        You can either contact your Allstate Agent or call us 24/7
    from all the discounts you're eligible to receive.                             at 1-800-ALLSTATE (1-800-255-7828) - para espanol,
                                                                                   llamar al 1-800-979-4285 - with questions about your
                                                                                   coverage, or to update your coverages, limits, or
                                                                                   deductibles. Or visit us online at allstate.com.




A guide to your renewal package

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                                                                  made simple




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                  Thank you for choosing Allstate

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                  Proof of Insurance Card                                                                                                                                                                                                           Page 1 of 2
                  For your convenience, two insurance cards have been included for each vehicle. State law requires that one
                  of these cards be kept in each vehicle. Please place them in your vehicles by the effective date.



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    upon the request of a police officer who is enforcing the law or investigating an accident.                                 upon the request of a police officer who is enforcing the law or investigating an accident.
    You may show this card to provide such evidence.                                                                            You may show this card to provide such evidence.
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        Policy number:                                                                                                                                                         Page 2 of 2
        Policy effective date:




                                    Please use the printed Insurance Cards below.                                         Please use the printed Insurance Cards below.




                                    Please use the printed Insurance Cards below.                                         Please use the printed Insurance Cards below.




                            If you have an accident or loss:                                                      If you have an accident or loss:
                               Get medical attention if needed, and notify the police immediately.                • Get medical attention if needed, and notify the police immediately.
                            • Obtain names, addresses, phone numbers (work & home) and license plate              • Obtain names, addresses, phone numbers (work & home) and license plate
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                            • Call 1-800-ALLSTATE (1-800-255-7828)                                                • Call 1-800-ALLSTATE (1-800-255-7828)
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                          Case 4:19-cv-00337-BRW Document 2 Filed 05/08/19 Page 13 of 44



                                                                                                                                                      ~ Allstate.
Renewal auto policy declarations
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                                                                                                 Platinum       Gold      Standard Value Plan
Your policy effective date is November 15, 2016                                                                                                                     You're in good hands.


                                                                                                                                                                                    Page 1 of 4

                                                                                                                                                      Information as of October 4, 2016
Total Premium for the Policy Period
Please review your insured vehicles and verify their VINs are correct.                                                                                Summary
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                                                                                                                                          661.44 Mailing address

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                                                                                                                                                      7 Whispering Wind Circle
                                                                                                                                                      Vilonia AR 72173-9502
If you pay in full (includes FullPay® Discount)                                                                             $1,188.46

*If you pay less than the Pay in Full amount, you will be charged an installment fee(s) .
                                                                                                                                                      Your pol icy provided by
                                                                                                                                                      Allstate Property and Casualty
Discounts                   (included in your total premium)                                                                                          Insurance Company

Allstate Easy Pay                  $56.71                                 Safe Driving Club® $455.50                                                  Pol icy period
Plan                                                                                                                                                  Beginning November 15, 2016 through
                                                                                                                                                      May 15, 2017 at 12:01 a.m. standard time
Multiple Policy                    $90.32                                 Responsible Payer    $157.82
                                                                                                                                                      Your Allstate agency is
Early Signing                      $146.87                                Homeowner            $56.40
                                                                                                                                                      Hervey Insurance
Preferred Package                  $42.92                                 Passive Restraint    $23.15                                                 1214 Hogan Ln #100
Antilock Brakes                    $93.24                                 Electronic Stability $81.11                                                 Conway AR 72034
                                                                          Control                                                                     (501) 336-0427
~ Total discounts                                                                                                           $1,204.04}
                                                                                                                                                      CHRISHERVEY@allstate.com

                                                                                                                                                      Some or all of the information on your
                                                                                                                                                      Policy Declarations is used in the rating
( Policl discounts                                                                                                              $1,006.54)            of your policy or it could affect your
Allstate Easy Pay                  $56.71                                 Early Signing                       $146.87                                 eligibility for certain coverages. Please
Plan                                                                                                                                                  notify us immediately if you believe that
Safe Driving Club®                 $455.50                                Homeowner                           $56.40                                  any information on your Policy
Multiple Policy                    $90.32                                 Preferred Package                   $42.92                                  Declarations is incorrect. We will make
Responsible Payer                  $157.82                                                                                                            corrections once you have notified us,
                                                                                                                                                      and any resulting rate adjustments, will
                                                                                                                                                      be made only for the current policy
( 2012 Toy. Truck Tacoma discounts                                                                                                    $85.95)         period or for future policy periods.
Passive Restraint    $8.76                                                Antilock Brakes                     $41.27                                  Please also notify us immediately if you
Electronic Stability $35.92                                                                                                                           believe any coverages are not listed or
Control                                                                                                                                               are inaccurately listed.
( 2013 T orota Camry discounts                                                                                                        $111.55)
Passive Restraint    $14.39                                               Antilock Brakes                     $51.97
Electronic Stability $45.19
Control


Listed drivers on your policy
Chris Huff - Marri ed male driver, age 31 , Safe Driving Club
                                                                                                                                                                                                  0
Lindsey Huff - Married female driver, age 25, Safe Driving Club                                                                                                                                   a,
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    Renewal auto policy declarations                                                                      Page 2 of 4
    Policy number:           [RE ~C
    Policy effective date:                 , 2016


Excluded drivers from your policy
None


Coverage detail for 2012 Toy. Truck Tacoma
Coverage                                      Limits                                     Deductible        Premium
Automobile Liability Insurance                                                           Not applicable     $249.71
(I)      Bodily Injury                        $50,000 each person
                                              $100,000 each occurrence
8        Property Damage                      $50,000 each occurrence
0        Auto Collision Insurance             Actual cash value                          $1,000            $222.02
(Safe Driving Deductible Reward - deductible reduction amount available is $500)
@        Auto Comprehensive Insurance         Actual cash value                          $1,000              $99.71
•        Rental Reimbursement                 up to $20 per day for a maximum of 30      Not applicable      $13.36
                                              days
f.'j    Towing and Labor Costs                $50 each disablement                       Not applicable       $5.87
Underinsured Motorists Insurance for          $50,000 each person                        Not applicable      $17.96
Bodily Injury                                 $100,000 each accident
Uninsured Motorists Insurance                                                                                $13.59
(I)      Bodily Injury                        $50,000 each person                        Not applicable
                                              $100,000 each accident
8        Property Damage                      $25,000 each accident                      $200
Accidental Death Benefits*                    $5,000 each person                         Not applicable       $1.17
Income Disability Benefits* (each person)                                                Not applicable       $2.17
• Essential Services Expenses                 $70 per week
• Wage Loss Benefits                          70% of income up to a maximum of $140
                                              per week
Medical and Hospital Benefits*                $5,000 each person                         Not applicable       $17.13
• Funeral Services                            $5,000 each person
•        Sound System                         Not purchased*                                                                   0
                                                                                                                               a,

Tape                                          Not purchased*
                                                                                                                               "'0
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(Total premium for 2012 Toy. Truck Tacoma                                                                 $642.69)
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* This coverage can provide you with valuable protection. To help you stay                                                     M

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current with your insurance needs, contact your Allstate agent to discuss                                                      0
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coverage options and other products and services that can help protect you.                                                    8
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*Note: Subject to time limitations set forth in the endorsement or policy
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VIN                                                                   Lienholder                                               Sl
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                                                                      Toyota Motor Credit Corp                                 ~
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Rating information                                                                                                             ~
                                                                                                                               0
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• This vehicle is driven over 7,500 miles per year, 3-9 miles to                                                               :;;
  work/school                                                                                                                  5
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                                                                                            ~ Allstate.
    Renewal auto policy declarations
    Policy number:           (RE ~C
                                                                            Page 3 of 4
    Policy effective date:   lllovember 15, 2016
                                                                                                           You're in good hands.


Coverage detail for 2013 Toyota Camry
Coverage                                      Limits                                      Deductible                       Premium
Automobile Liability Insurance                                                            Not applicable                    $189.08
•        Bodily Injury                        $50,000 each person
                                              $100,000 each occurrence
•        Property Damage                      $50,000 each occurrence
G        Auto Collision Insurance             Actual cash value                           $1,000                            $278.64
(Safe Driving Deductible Reward - deductible reduction amount available is $500)
0        Auto Comprehensive Insurance         Actual cash value                           $1,000                             $90.19
0        Rental Reimbursement                 up to $20 per day for a maximum of 30       Not applicable                      $13.36
                                              days
8        Towing and Labor Costs               $50 each disablement                        Not applicable                       $5.87
Underinsured Motorists Insurance for          $50,000 each person                         Not applicable                     $29.24
Bodily Injury                                 $100,000 each accident
Uninsured Motorists Insurance                                                                                                 $21.51
•        Bodily Injury                        $50,000 each person                         Not applicable
                                              $100,000 each accident
8        Property Damage                      $25,000 each accident                       $200
Accidental Death Benefits*                    $5,000 each person                          Not applicable                      $0.99
Income Disability Benefits * (each person)                                                Not applicable                       $1.83
• Essential Services Expenses                 $70 per week
• Wage Loss Benefits                          70% of income up to a maximum of $140
                                              per week
Medical and Hospital Benefits*                $5,000 each person                          Not applicable                     $30.73
• Funeral Services                            $5,000 each person
G        Sound System                         Not purchased*
Tape                                          Not purchased*
(Total premium for 2013 Toyota Camry                                                                                       $661.44)

* This coverage can provide you with valuable protection. To help you stay
current with your insurance needs, contact your Allstate agent to discuss
coverage options and other products and services that can help protect you.

*Note: Subject to time limitations set forth in the endorsement or policy
VIN                                                                   Lienholder
                                                                      Arkansas Federal Credit Union
Rating information
• This vehicle is driven over 7,500 miles per year, for pleasure




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 Renewal auto policy declarations                                                                                       Page 4 of 4
 Policy number:           (RE ,ii;CTE
 Policy effective date:     ovem er 15, 2016



Your policy documents
Your automobile policy consists of this Policy Declarations and the documents in the following list. Please keep these together.
• Allstate Property and Casualty Auto Insurance Policy -          • Amendatory Endorsement - AP4813
  AU12890
• Cla im Sat isfaction Guarantee Amendatory Endorsement -         • Utility Automobile Endorsement - AU2024
  AP4878


Important payment and coverage information
Here is some additional, helpful information related to your coverage and paying your bill :
• Your Gold Protection package contains the following features:
  • Accident Waiver Enhancement feature
  • Safe Driving Deductible Reward feature


Allstate Property and Casualty Insurance Company's Secretary and President have signed this policy with legal authority at
Northbrook, Illinois.




Steven P. Sorenson                                                Susan L. Lees
President                                                         Secretary




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                                                                                               ~ Allstate.
Important notices
Policy number:              (REDACTE ]                                       Page 1 of 3
Policy effective date:      Novem er 15, 2016                                                                  You're in good hands.


                                                                                 non-original equipment manufacturers, subject to all
Notice Of A Change To Your Auto Policy                                           applicable state laws and regulations; or
From time to time Allstate will revise your coverage. We've                 3.   the limit of liability shown on the Policy Declarations
included an Amendatory Endorsement in this mailing package                       applicable to the damaged property; or
that changes parts of your contract. Please read this                       4.   $500, if the loss is to a covered trailer not described
endorsement and keep it with your Auto policy.                                   on the Policy Declarations.
We're also providing you with the following summary. We                 In some instances this change may reduce your coverage as
hope you find it informative and useful, but keep in mind that          the limit of liability is the least of these four amounts. It is
it's not part of your contract. Always reference your policy            important that you review your policy to ensure that the
documents for your exact coverage details.                              amount of coverage for your trailer is adequate. If you should
                                                                        have any questions in relation to this change, please contact
If you have any questions about this notice or your policy
                                                                        your agent.
coverage, you can contact your Allstate representative, call
                                                                                                                                      XC3681
1-800-ALLSTATE SM (1-800-255-7828), or visit
www.allstate.com . We're here to help!

                                                                        Important Information About Your Auto
In the Protection Against Loss To The Auto section:                     _P_o:.. .l_ic. :. JyL,_________________
We are revising the Limits Of Liability provision. The Limits Of   The enclosed Policy Declarations lists important information
                                                                   about your policy, such as your address, the vehicles you've
Liability provision currently states Allstate's limit of liability is
the least of:                                                      insured, the vehicle identification numbers (VIN) assigned to
                                                                   your insured vehicles, the drivers insured, and the coverages
    1.   the actual cash value of the property or damaged part     and coverage limits you've chosen. Your Policy Declarations
         of the property at the time of loss, which may include a also lists any discounts and surcharges applied to your policy.
         deduction for depreciation; or
                                                                   Because much of the information found on your Policy
    2.   the cost to repair or replace the property or part to its Declarations is used to help us determine your premium,
         physical condition at the time of loss using parts        please be sure to review your Policy Declarations carefully
         produced by or for the vehicle's manufacturer, or parts each time you receive one. You may want to add coverage,
         from other sources, including, but not limited to,        delete coverage or change your coverage limits, or you may
         non-original equipment manufacturers, subject to all      want to change the information concerning the vehicles or
         applicable state laws and regulations; or                 drivers your policy insures.
    3.   $500, if the loss is to a covered trailer not described        Another thing to keep in mind is that you may now qualify for
         on the Policy Declarations.                                    discounts that you were not eligible to receive previously. For
With the addition of amount 3. listed below, the Limits Of              instance, Allstate offers discounts for:
Liability provision now states that our limit of liability will be      •   Unmarried young drivers, including students under the age
the least of four, instead of three amounts.                                of 25
The Limits Of Liability provision now reads as follows:                 •   Drivers who have completed approved driver training
                                                                            courses
    Allstate' · ·     · 'lity is the least of:
    1.  the actual cash value of the property or damaged part           •   Drivers who also own a home, townhouse, condominium,
        of the property at the time of loss, which may include a            or mobilehome
        deduction for depreciation; or                                  Please contact your Allstate agent for additional information
    2.   the cost to repair or replace the property or part to its      about discount qualifications, as well as other discounts that
         physical condition at the time of loss using parts             may be available to you.
         produced by or for the vehicle's manufacturer, or parts
         from other sources, including, but not limited to,
                                                                        Making Changes to Your Policy
                                                                        If you need to make a change to any of the information listed on
                                                                        your Policy Declarations, please notify your Allstate agent as
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Important notices                                                                                                           Page 2 of 3
Policy number:
Policy effective date:



soon as possible. With a few exceptions, any changes will be         As you know, we obtained your credit information at the time
effective as of the date you notify us.                              you applied for your policy and based the premium you pay
                                                                     partly on that information. Certain data from credit reports has
If you have any questions about this notice, or if you need to
                                                                     proved an effective predictor of insurance losses, enabling
update any of the information listed on the enclosed Policy
                                                                     insurance companies to offer lower premiums to customers
Declarations, please contact your Allstate agent or
                                                                     who, according to their credit information, are less likely to
1-800-ALLSTATE (1-800-255-7828).
                                                                     experience loss.
                                                        X72910-1
                                                                     You may request that we reorder your credit information
                                                                     At your request, once every two years we will reorder cred it
                                                                     report(s) if you would like us to update the credit information
Important Addresses and Phone                                        used to rate your policy. If we update your credit information,
                                                                     your premium could decrease, or it could stay the same-so we
Numbers                                                              strongly recommend that you consider this option carefully
                                                                     before making the request. Because an insurance company is
If you have questions or concerns about your Allstate policy
                                                                     not assessing credit-worthiness, the information it considers
and coverage, you can contact your Allstate agent or
                                                                     from credit reports is not the same as that considered by a
representative at the addresses and phone numbers listed
                                                                     financial institution. For example, credit report information that
below.
                                                                     would lead a bank to offer you a lower interest rate on a loan
Your Agent                                                           will not necessarily lower your insurance premium.
To contact your agent, please refer to your Policy Declarations      Any resulting premium change will be applied at the start of
for your agent's name and phone number.                              your next policy period.
Allstate                                                             If you're interested in the option of reordering credit report
To contact Allstate directly, you can call 1-800-ALLSTATE            information, or if you have any other questions about our rating
(1-800-255-7828) or write to us at the following address:            practices, please contact your Allstate agent or call us toll-free
                                                                     at 1-800-ALLSTATE (1-800-255-7828). You can also learn
    Allstate Insurance Company
                                                                     more about the use of credit information and insurance by
    PO Box 660598
                                                                     logging on to our website at allstate.com-we want to help you
    Dallas, TX 75266-0598
                                                                     make the best possible decisions about your insurance.
Arkansas Insurance Department                                                                                                 X67478·1
If neither your Allstate agent nor a representative at the offices
listed above can resolve your question or concern, you can
always contact the Arkansas Insurance Department's                   We Have Increased Our Rates
Consumer Services Division:
                                                                     We want to let you know that we have increased our insurance
    Arkansas Insurance Department
                                                                     rates in Arkansas. We are making this change to keep pace
    1200 West Third Street
                                                                     with rising insurance claim and operating costs in your state.
    Little Rock, AR 72201
                                                                     As you may know, your premium is determined by a number of
    1-501-371-2640 or 1-800-852-5494                                                                                                             M
                                                                     factors, such as your loss history, the coverages you purchased             M

Thank you for choosing Allstate to help you protect what you         and your eligibility for discounts.                                         "'0
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have today and help you prepare for the future.                                                                                                  a:l
                                                      X3201-7 As a result of this change, your policy premium has increased.
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                                                              By comparing the enclosed Policy Declarations to the                               !2
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                                                              Declarations that accompanied your last policy renewal, you                        0
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                                                              can determine the amount of the increase.                                          5l
Reassessment of Your Credit                                                                                                                      N
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                                                                     You can also contact your Allstate representative, who can                  M

Information and Insurance Rates Is                                   help you determine the amount of any premium change.
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Credit information is used to determine insurance rates                                                                                         "":Ji
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                                                                                           ~ Allstate.
Important notices
Policy number:
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Policy effective date:
                                                                                                           You're in good hands.


Please keep in mind that any recent changes you may have            "ePolicy" to begin enrolling and viewing your documents
made to your policy may also affect the amount of your              electronically.
premium.
                                                                    Important Information
Options for Managing Your Premium                                   You can have the Allstate eSmart® discount added to your
We understand that this is not a welcome change. However,           policy with this renewal as long as you enroll in ePolicy
there may be ways you can help manage your insurance costs          sometime between now and one day prior to your policy's
without sacrificing quality Allstate coverage. For example,         renewal effective date, which is shown on the first page of your
some of the ways you may be able to maintain or even reduce         Policy Declarations.
your premium include:
                                                                    Since we know managing your insurance costs is very
•   Reviewing your coverages and determining whether or not
                                                                    important to you, we urge you to complete your ePolicy
    any changes are needed
                                                                    enrollment as soon as possible.
•   Adjusting your deductible                                                                                                 X73348
•   Policy discounts that may be available to you
Also, we encourage you to contact your Allstate representative
to discuss whether any of these suggestions or other options        Installment Fee Increase
may work for you. We know that insurance costs are extremely
                                                                    We'd like you to be aware that if you pay your premium in
important to you, and it's one of our goals to help you manage
                                                                    installments, we've increased the installment fee for each
those costs while always keeping you in Good Hands®.
                                                                    payment.
Have Questions? Please Contact Us                                   For the following payment methods, the new installment fees
If you have any questions about your policy premium or how to       are:
manage the cost of your insurance, please feel free to contact
your Allstate representative.                                          Allstate ® Easy Pay Plan                  $1.50
                                                         X72970        Check, credit card, and all other         $4.00
                                                                       payment types

                                                                    As always, if you choose to pay your entire premium in full,
You Can Save More on Your Premium                                   there will be no installment fees for that policy period.
with Our Allstate eSmart® Discount                                  If you have any questions, please feel free to call your Allstate
                                                                    Agent or (501) 336-0427.
We want to make sure you're aware of the additional savings
                                                                                                                              X73644
that are available to you if you take advantage of the Allstate
eSmart® discount. You can get this discount and save on your
premium simply by enrolling in our ePolicy program.
When you enroll in ePolicy, you will be able to access your
policy documents electronically through Allstate's secure
online system. You can then enjoy the convenience of an
electronic policy while also knowing that you're helping the
environment bY, eliminating paper.


The first step to enrolling in ePolicy and getting the Allstate
eSmart® discount is to open an online account with us. If you
haven't already done this, simply go to allstate.com, click on
"My Account Login" at the top of the page and then click
"create an account."

Once you have an online account, simply sign in to it, then click
the "My Policies" link at the top of the page and select
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Privacy Statement
Policy number:
Policy effective date:
                            :EDACTE
                          November 15, 2016
                                                                         Page 1 of 2      @Allstate.     You're in good hands.


Thank you for choosing Allstate. We value you, respect your         your driving record, claims history, medical information and
privacy and work hard to protect your personal information.         credit information.
This statement is provided on behalf of Allstate Insurance          In addition, Allstate and its business partners gather
Company and the affiliates ("Allstate") listed at the end of this   information through Internet activity, which may include, for
notice. We would like to explain how we collect, use and share      example, your operating system, links you used to visit
the information we obtain about you in the course of doing          allstate.com, web pages you viewed while visiting ·our site or
business.                                                           applications, Internet Protocol (IP) addresses, and cookies. We
                                                                    use cookies, analytics and other technologies to help:
Our Privacy Assurance                                               •    Evaluate our marketing campaigns
•   We do not sell your personal or medical information to          •    Analyze how customers use our website and applications
    anyone.                                                         •    Develop new services
•   We do n2t share your information with non-affiliate             •    Know how many visitors have seen or clicked on our ads
    companies that would use it to contact you about their
    own products and services, unless permitted pursuant to a       Also, our business partners assist us with monitoring
    joint marketing agreement.                                      information including, but not limited to, IP addresses, domain
•   We require persons or organizations that represent or           names and browser data, which can help us to better
    assist us in servicing your pol icy and claims to keep your     understand how visitors use allstate.com.
    information confidential.
                                                                    How We Use and Share Your Personal Information
•   We .te.l2.U.ir.e. our employees to protect your personal
                                                                    In the course of normal business activities, we use and share
    information and keep it confidential.
                                                                    your personal information. We may provide your information
As you can see, protecting your personal information is             to persons or organizations within and outside of Allstate. This
important to us. In addition to the practices described above,      would be done as required or permitted by law. For example,
we use a variety of physical, technical and administrative          we may do this to:
security measures that help to safeguard your information. For      •    Fulfill a transaction you requested or service your policy
Social Security Numbers (SSN), this includes restricting access     •    Market our products
to our employees, agents and others who use your SSN only as        •    Handle your claim
permitted by law: to comply with the law, to provide you with       •    Prevent fraud
products and services, and to handle your claims. Also, our         •    Comply with requests from regulatory and law
employees' and agents' access to and use of your SSN are                 enforcement authorities
limited by the law, our policies and standards, and our written     •    Participate in insurance support organizations
agreements.
                                                                The persons or organizations with whom we may share your
Our privacy practices continue to apply to your information     personal information may include, among others:
even if you cease to be an Allstate customer.                   •   Your agent, broker or Allstate-affiliated companies
                                                                •   Companies that perform services, such as marketing,
What Personal Information Do We Have and Where                      credit card processing, and performing communication
Do We Get It                                                        services on our behalf
We gather personal information from you and from outside        •   Business partners that assist us with tracking how visitors
sources for business purposes. Some examples of the                 use allstate.com
information we collect from you may include your name, phone •      Other financial institutions with whom we have a joint
number, home        e-mail addresses, driver's license number,      marketing agreement
Social Security N"umber, marital status, family member          •   Other insurance companies that play a role in an insurance
information and healthcare information. Also, we maintain           transaction with you
records that include, but are not limited to, policy coverages, •   Independent claims adjusters
premiums, and payment history. We also collect information      •   A business or businesses that conduct actuarial or
from outside sources including, but not limited to, insurance       research studies
support organizations that assemble or collect information      •   Those who request information pursuant to a subpoena or
about individuals for the purpose of providing to insurance         court order
companies. This information may include, but is not limited to, •   Repair shops and recommended claims vendors

                                                                    The Internet and Your Information Security
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Privacy Statement                                                                                                          Page 2 of 2
Policy number:              EDA""CTE
Policy effective date:    fifovem6er 15, 2016



We use cookies, analytics and other technologies to help us         If you previously contacted us and asked us not to allow other
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Information                                                         Company.
You can request to review your personal information contained
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in our records at any time. To do this, please send a letter to
                                                                    Insurance Company, Castle Key Insurance Company and
the address below requesting to see your information for the
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previous two years. If you believe that our information is
                                                                    sharing with the affiliates listed above, but have a separate
incomplete or inaccurate, you can request that we correct it.
                                                                    privacy notice for their customers.
Please note we may not be able to provide information relating
to investigations, claims, litigation, and other matters. We will
be happy to make corrections whenever possible.
                                                                    (ed. 10/2015)
Please send requests to:                                                                                                    X73180v6
Allstate Insurance Company Customer Privacy Inquiries
PO Box 660598
Dallas, TX 75266-0598

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To request that we not allow other Allstate affiliates to use                                                                                  ~
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Policy number                             Policy effective




Policyholders                             Your Allstate agency is
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Allstate Property & Casualty Insurance Company                    Coverage Changes
The Company Named In the Policy Declarations                      When we broaden a coverage during the policy period
A Stock Company - Home Office: Northbrook, Illinois               without additional charge, you have the new feature if
                                                                  you have the coverage to which it applies. The new feature
General                                                           applies on the date the coverage change is effective in
                                                                  your state. Otherwise, the policy can be changed only by
This policy is a legal contract between you and us. A             endorsement. Any changes in your coverage will be made
coverage applies only when. a premium for it is shown on          using the rules, rates, and forms in effect, and on file if
the Policy Declarations. H more than one auto is insured,         required, for our use in your state.
premiums will be shown for each auto. If you pay the
premiums when due and comply with the policy terms,               Duty To Report Autos
we, relying on the information you have given us, make            You must tell us within 60 days when you acquire an
the following agreements with ,au.                                additional or replacement auto. If you don't, certain
                                                                  coverages of this policy may not apply.
When And Where The Policy Applies
Your policy applies only during the premium period.               Combining Limits Of Two Or More
During this time, it applies to losses to the aule, accidents     Autos Prohibited
and occurrences within the United States of Amerk;a, its          If you have two or more autos insured in your name and one
territories or possessions or Canada, or between their ports.     of these autos is involved in an accident, only the coverage
The premium period is shown on the declarations page.             limits shown on the Policy Declarations for that auto will
                                                                  apply. When you have two or more autos insured in your
Changes                                                           name and none of them is involved in the accident, you may
Premium Changes                                                   choose any single auto shown on the Policy Declarations and
The premium for each auto is based on information we have         the coverage limits applicable to that auto will apply.
received from you or other sources. You agree to cooperate
with us in determining if this information is correct, if it is   The limits available for any other auto covered by the
complete, and if it changes during the policy period. You         policy will not be added to the coverage for the involved
agree that if this information changes or is incorrect or         or chosen auto.
incomplete, we may adjust your premium accordingly
during the policy period.                                         Transfer
                                                                  This policy can't he transferred to anyone without our written
Changes which result in a premium adjustment are contained        consent. However, if you die, coverage will be provided until
in our rules. These include, but are not limited to:              the end of the premium period for:
1. autos insured by the policy, including changes in use.         1. your legal representative while acting as such, and

2.   drivers residing in your household, their ages or            2.   persons covered on the date of your death.
     marital status.
                                                                  Cancellation
3.   coverages or coverage limits.                                You may cancel this policy by writing and telling us the future
                                                                  date you wish to stop coverage.
4.   rating territory.
                                                                  We may cancel part or all of this policy by mailing notice to
5.   discount eligibility.                                        you at your last known address. If we cancel because you
                                                                  didn't pay the premium, the date of cancellation will be at
Any calculation or adjustment of your premium will be             least 10 days after the date of mailing. Otherwise, we will
made using the rules, rates, and forms in effect, and on          give you 20 days of notice.
file if required, for our use in your state.
                                                                  Mailing the notice will be proof of notice. Any refund due
                                                                  will be calculated on a pro-rata basis. Cancellation will be
                                                                  effective even if the refund is not made immediately.
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Auto Policy                                                                                                         Page 4of 21
Policy number:
Policy effective date:
Your Allstate agency is




After your original policy has been in effect 60 days, we        Where Lawsuits May Be Brought
will not cancel or reduce your coverage during the premium       Subject to the following two paragraphs, any and all lawsuits
period unless:                                                   in any way related to this policy shall be brought, heard, and
1. you don't pay the premium when it's due;                      decided only in a state or federal court located in Arkansas.
                                                                 Any and all lawsuits against persons not parties to this policy
2.   you or any member of your household has had a               but involved in the sale, administration, performance, or
     driver's license auspended or revoked during the            alleged breach of this policy or involved in any other way
     last 12 months; or                                          with this policy, shall be brought, heard, and decided only in a
                                                                 state or federal court located in Arkansas, provided that such
3.   the policy was obtained through material                    persons are subject to or consent to suit in the courts
     misrepresentation; or                                       specified in this paragraph.

4.   We have mailed notice within the first 60 days that         If a covered loss to the auto, a covered auto accident, or any
     we do not intend to continue the policy.                    other occurrence for which coverage applies under this policy
                                                                 happens outside Arkansas, lawsuits regarding that covered
Any unearned premium amounts under $2.00 will be                 loss to the auto, covered auto accident, or other covered
refunded only upon your request.                                 occurrence may also be brought in the judicial district where
                                                                 that covered loss to the auto, covered auto accident, or other
Non-Renewal                                                      covered occurrence happened.
If we don't intend to renew your policy beyond the current
premium period, we will mail you notice at least 30 days         Nothing in this provision, Where Lawsuits May Be Brought,
before the end of the premium period.                            shall impair any party's right to remove a state court lawsuit
                                                                 to a federal court.
Conditional Reinstatement
If we mail a cancellation notice because you didn't pay the      Part I-Automobile Liability Insurance
required premium when due and you then tender payment
by check, draft, or other remittance which is not honored        Bodfly Injury-Coverage AA
upon presentation, your policy will terminate on the date        Proeerty Damage-Coverage BB
and time shown on the cancellation notice and any notice we
issue which waives the cancellation or reinstates coverage is    We will pay for all damages an insured person is legally
void. This means that we will not be liable under this policy    obligated to pay because of bodily injury or property
for claims or damages after the date and time indicated on       damage meaning:
the cancellation notice.                                         1. bodily injury, sickness, disease or death to any person,
                                                                      including loss of services; and
What Law Will Apply
This policy is issued in accordance with the laws of Arkansas    2.   damage to or destrudion of property, including loss
and covers property or risks principally located in Arkansas.         of use.
Subject to the following paragraph, any and all claims or
disputes in any way related to this policy shall be governed     Under these coverages, your policy protects an insured
by the laws of Arkansas.                                         person from claims for accidents arising out of the
                                                                 ownership, maintenance or use, loading or unloading
If a covered loss to the auto, a covered auto accident, or any   of an insured auto.
other occurrence for which coverage applies under this policy
happens outside Arkansas, claims or disputes regarding that      We will defend an insured person if sued as the result of an
covered loss to the auto, covered auto accident, or other        auto accident. This defense will be supplied even if the suit
covered occurrence may be governed by the laws of the            is groundless or false. We will choose the counsel. We may
jurisdiction in which that covered loss to the auto, covered     settle any claim or suit if we believe it is proper.
auto accident, or other covered occurrence happened, only
if the laws of that jurisdiction would apply in the absence of
a contractual choice of law provision such as this.
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Auto Policy
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Policy effective date:                                                                  @Allstate .     You're in good hands.
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Additional Payments We Will Make                                        within 60 days of the replacement. You must also pay
When we defend an insured person under this part, we                    any additional premium.
will pay
1. up to $50 a day for loss of wages or salary if we ask that      2.   An additional four-wheel private passenger auto
     person to attend -rings or trials to defend against a              or utility auto you become the owner of during the
     bodily injury suit. We won't pay for loss of other income.         premium period. This auto will be covered if we insure all
     We will pay other reasonable expenses incurred at our              other private passenger autos or utility autos you own.
     request.                                                           You must, however, tell us within 60 days of acquiring
                                                                        the auto. You must pay any additional premium.
2.   court costs for defense.
                                                                   3.   A substitute four-wheel private passenger auto or
3.   interest accruing on damages awarded. We will pay this             utility auto, not owned by you or a resident, being
     interest only until we have paid, offered, or deposited in         temporarily used while your insured auto is being
     court the amount for which we are liable under this                serviced or repaired, or if your insured auto is stolen
     policy. We will only pay interest on damages not                   or destroyed.
     exceeding our limits of liability.
                                                                   4.   A non-owned auto used by you or a resident relative
4.   premiums on appeal bonds and on bonds to release                   with the owner's permission. This auto must not be
     attachments, but not in excess of our limit of liability.          available or furnished for the regular use of an insured
     We aren't required to apply for or furnish these bonds.            person.

We will repay an insured person for:                               S.   A trailer while attached to an insured auto. The trailer
1. the cost of any bail bonds required due to an accident or            must be designed for use with a private passenger auto
   traffic law violation involving the use of the insured aute..        or utility auto. This trailer can't be used for business
   We won't pay more than $300 per bond. We aren't                      purposes with other than a private passenger auto or
   required to apply for or furnish these bonds.                        utlity auto.

2.   any expense incurred for first aid to others at the time      Definitions
     of an auto accident involving the insured auto.               1.   We, Us, or Our-means the Company as shown on the
                                                                        Policy Declarations.
Insured Persons
1.   While using your insured auto:                                2.   Auto-means a land motor vehicle designed for use on
     a) you,                                                            public roads.
     b) any resident, and
     c) any other person using it with your permission.            3.   Resident-means the physical presence in your
                                                                        household with the intention to continue living there.
2.   While using a non-owned auto:                                      Unmarried dependent children while temporarily away
     a) you,                                                            from home will be considered residents, if they intend to
     b) any resident relative using a four-wheel private                continue to live in your household.
        passenger auto or utility auto.
                                                                   4.   Utility Auto-means an auto of the pick'"llp body, sedan
3.   Any other person or organization liable for the use of             delivery or panel truck type. This aute must have a rated
     an insured auto if the auto is not owned or hired by this          load capacity of not more than 2,000 pounds.
     person or organization.
                                                                   5.   You or Your-means the policyholder named on the
Insured Autos                                                           Policy Declarations and that policyholder's resident
1.   Any auto described on the Policy Declarations. This                spouse.
     includes the four-wheel private passenger auto or utility
                                                                   6.   Punitive or Exemplary Damages-means damages
     auto you replace it with. However, you must notify us
                                                                        which may be imposed to punish a wrongdoer and to
                                                                        deter others from similar conduct.
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Auto Policy                                                                                                              Page 6 of 21
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Exclusions-What Is Not Covered                                     Limits Of Liability
This coverage does not apply to liability for:                     The limits shown on the Policy Declarations are the
1. your insured auto while used to carry persons or                maximum we will pay for any single auto accident. The
    property for a charge, or any auto you are driving             limit stated for each person for bodily injury applies to all
    while available for hire by the public. This exclusion         damages arising from bodily injury, sickness, disease or
    does not apply to $hared-expense car pools.                    death sustained by one person in any one occurrence
                                                                   including damages from anyone else as a result of that
2.   auto business operatioris such as repairing, servicing,       bodily injury. Subject to the limit for each person, the
     testing, washin11, parkin1, storing, or selling of autos.     occurrence limit is our total limit of liability for all damages
     However, coverage does apply to you, resident relatives,      for bodily injury sustained by two or more persons in any
     partners or employees of the partnership of you or a          one occurrence. For property damage, the limit applies to
     resident relative when using yeur insured auto.               damages arising from each occurrence.

3.   a non-owned auto while being used in any business or          The liability limits apply to each insured auto as shown
     occupation of an insured person. However, coverage            on the Policy Declarations. The insuring of more than one
     does apply while you, your chauffeur, or domestic             person or auto under this policy will not increase our liability
     servant are using a private passenger auto or trailer.        limits beyond the amount shown for any one auto, even
                                                                   though a separate premium is charged for each auto. The
4.   bodily injury to an employee of any insured person            limits won't be increased if you have other auto insurance
     arising in the course of employment. Coverage does            policies that apply.
     apply to a domestic employee who is not required to be
     covered by a workers' compensation law or similar law.        An auto and attached trailer are considered one auto. Also,
                                                                   Ml auto and a mounted camper unit, topper, cap or canopy
5.   anyone other than you, for claims made by a co-worker         are considered one auto.
     injured in the course of employment.
                                                                   If There Is Other Insurance
6.   bodily injury to any person related to an insured person      When this insurance covers a substitute auto or non-owned
     by blood, marriage, or adoption and residing in that          auto, we will pay only after all other collectible insurance
     person's household.                                           has been exhausted. However, this does not include an auto
                                                                   loaned by a duly licensed automobile dealer as a temporary
7.   injury to or destruction of property an insured person        substitute, with or without compensation, to you for use as
     owns, is in charge of, or rents. However, a private           a temporary substitute vehicle while your auto is out of use
     residence or a garage rented by that person is covered.       because of breakdown, repair, servicing or if the other auto
                                                                   is loaned by a duly licensed automobile dealer for use as a
8.   bodily injury or properly damage caused intentionally
                                                                   demonstrator vehicle. Our extension of liability will be
     by or at the direction of an insured person.                  primary only to the extent of coverage to the auto being
                                                                   repaired or serviced. If more than one policy applies on a
9.   bodily injury or property damage which would also be
                                                                   primary basis to an accident involving your insured auto, we
     covered under nuclear energy liability insurance. This
                                                                   will bear our proportionate share with the other collectible
     applies even if the limits of that insurance are exhausted.
                                                                   liability insurance.
10. punitive or exemplary damages.
                                                                   Assistance And Cooperation
                                                                   When we ask, an insured person must cooperate with us
Financial Responsibility                                           in the investigation, settlement and defense of any claim
When this policy is certified as proof under any motor vehicle
                                                                   or lawsuit. If we ask, that person must also help us obtain
financial responsibility law, this policy will comply with the
                                                                   payment from anyone who may be jointly responsible.
provisions of that law.
                                                                   We can't be obligated if an insured person voluntarily takes
                                                                   any action or makes any payments other than for covered
                                                                   expenses for bail bonds or first aid to others.
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Adion Against Us                                                  2.   Injured Person-means
No insured person may sue us under this coverage unless                a) you or a resident relative who sustains bodily injury,
there is full compliance with all the policy terms.                         sickness, disease, or death arising out of the use of a
                                                                            motor vehicle.
If liability has been determined by judgment after trial, or by        b)   any other person who sustains bodily injury,
written agreement among the insured, the other person, and                  sickness, disease or death while in, on, getting into or
us, then whoever obtains this judgment or agreement against                 out of, or when struck as a pedestrian by the insured
an insured person, may sue us up to the limits of this policy.              motor vehicle.
However, no one has the right to join us in a suit to determine
legal responsibility.                                             3.   Insured Motor Vehicle-means a motor vehicle
                                                                       a) you own, and
The bankruptcy or insolvency of an in$Ured person or that              b) to which the bodily injury liability coverage of this
person's estate won't relieve us of any obligation.                       policy applies, and for which a specific premium is
                                                                          charged,and
What To Do In Case Of An Auto Accident                                 c) for which Coverage VC is indicated as applicable on
                                                                          the Policy Declarations.
Or Claim
If an insured person has an auto accident, we must be
                                                                  4.   Motor Vehicle-means a land motor vehicle or trailer
informed promptly of all details. If an insured person is
                                                                       operated or designed for use on public roads.
sued as the result of an auto accident, we must be
informed immediately.
                                                                  5.   Pedestrian-means any person not in, on, getting into or
                                                                       out of a motor vehicle or a machine operated by a motor
Part II-Medical And Hospital Benefils-                                 or engine, other than a motorcycle, motorized bicycle or
                                                                       similar vehicle.
Coverage VC
We will pay to or on the behalf of an Injured person all          6.   R•ident-means the physical presence in your
reasonable and necessary expenses incurred within                      household with the intention to continue living there.
24 months after the date of the accident for medical
treatment, products, and services actually rendered or            7.   You or Your-means the policyholder named on the
furnished.                                                             declarations page.

Ambulance, hospital, medical, dental, surgical, nursing,          8.   Bodily lwiur,-means bodily injury, sickness, disease
funeral expenses and prosthetic services are covered.                  or death, except that bodily injury does not include:
Treatment and services rendered in accordance with a                   a) any venereal di$ease;
recognized religious method of healing are also covered.               b) herpes;
Payments will be made only when bodily injury is caused                c) Acquired Immune Deficiency Syndrome (AIDS);
by an accident arising from the use of a motor vehicle as a            d) AIDS Related Complex (ARC);
motor vehicle. Expenses for hospital room accommodations               e) Human Immunodeficiency Virus (HIV);
are limited to semiprivate room rates.                                 or any related or resulting symptoms, effect, condition,
                                                                       disease or illness.
The time period for necessary treatment, products and
services actually rendered or furnished will be extended to       Exclusions-What Is Not Covered
five years from the date of the accident if the amount of         This coverage does not apply to bodily injury, sickness,
insurance shown on the Policy Declarations for this coverage      disease or death
is more than $5,000.                                              1. to any person, other than you or a resident relative, if
                                                                      that person is entitled to similar direct first party benefits
Definitions                                                           as a named insured or additional insured under any other
1.   We, Us, or Our-means the Company as shown on the                 automobile liability insurance policy.
     Policy Declarations.
                                                                  2.   to any person while in, on, getting into or out of, or when
                                                                       a pedestrian struck by a motor vehicle owned by you or
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Auto Policy                                                                                                              Page 8 of 21
Policy number:
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Your Allstate agency is




     available for your regular use, which is not an insured       the insured person. We will choose the counsel. The insured
     motor vehicle.                                                person must cooperate with us in the defense of any claim or
                                                                   lawsuit. If we ask the insured person to attend hearings or
3.   to any resident relative arising from the use of a motor      trials, we will pay up to $50 per day for loss of wages or
     vehicle owne.cf by or available for the regular use of that   salary. We will also pay other reasonable expenses incurred
     resident relative, which is not an insured motor vehicle.     as a result of our request.

4.   or benefits to any person, or that person's personal          Limits Of Liability
     representative, if that person's conduct contributed to       The limit of our liability for Medical And Hospital Benefits is
     the bodily injury, sickness, disease or death sustained       shown on the Policy Declarations. This is the maximum we
     a) through intentionally causing a self-injury, or            will pay for any injured person for any one motor vehicle
     b) while committing a felony, or while seeking to elude       accident, regardless or the number of vehicles insured under
         lawful apprehension or arrest by a law enforcement        this or other policies.
         official.
                                                                   If an Injured person dies as a result of a covered motor
5.   to any person while in, on, getting into or out of an         vehicle accident, we will pay the least of the following as
     insured motor vehicle while it is beinl used to carry         a funeral expenses benefit:
     persons or property for a charge.                             1. $5,000; or
6.   sustained by any person in the course of that person's        2.   the remaining portion of the Medical and Hospital
     occupation while engaged in duties incidental to                   Benefits-Coverage VC limit of liability not expended
     a) the operation, loading or unloading of a vehicle used           for other covered medical expenses.
         to carry persons or property for a charge, or a
         commercial motor vehicle.                                 The funeral service expenses benefit does not increase,
     b) service as an assistant on a vehicle used to carry         and will not be paid in addition to, the limits of liability stated
         persons or property for a charge, or a commercial         on the Policy Declarations for Coverage VC. This benefit is
         motor vehicle.                                            payable to the deceased injured person's spouse if a resident
     c) the repair or servicing of motor vehicles.                 of the same household at the time of the accident.

7.   to any person arising from the use of a motor vehicle as      However, if the deceased injured person is a minor, the
     a residence or premises.                                      benefit is payable to either parent if that parent is a resident
                                                                   of the same household at the time of the accident. In all other
8.   due to war, insurrection, rebellion or revolution.            cases, the benefit is payable to the deceased injured person's
                                                                   estate.
9.   resulting from radioactive, toxic, explosive, or other
     hazardous properties of nuclear material.                     Damages payable under this coverage will be reduced by all
                                                                   amounts paid, payable, or required to be provided under any
Unreasonable Or Unnecessary Medical Expenses                       workers' compensation law, and any other similar automobile
If the insured person incurs medical expenses which are            medical and automobile direct first party benefits.
unreasonable or unnecessary, we may refuse to pay for
those medical expenses and contest them. Unreasonable              Notice
medical expenses are fees for medical services which are           Written notice of the accident must be sent to us or one of
substantially higher than the usual and customary charges          our authorized agents as soon as possible, by the injured
for those services. Unnecessary medical expenses are fees          person or someone on that person's behalf. This notice must
for medical services which are not usually and customarily         include the time, place, and circumstances of the accident
performed for treatment of the injury, including fees for an       and the identity of the injured person. If an injured person or
excessive number, amount, or duration of medical services.         someone on that person's behalf sues a third party to recover
                                                                   damages from anyone believed responsible for the injury,
If the insured person is sued by a medical services provider       a copy of any summons, complaint, or other documents
because we refuse to pay contested medical expenses, we
will pay all defense costs and any resulting judgment against
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Auto Policy
Policy number:
Policy effective date:                                                              ~Allstate.      You're in good hands.
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pertaining to the lawsuit must be sent to us as soon           Action Against Us
as possible.                                                   No one may sue us under this coverage unless there is full
                                                               compliance with all the policy terms.
Proof Of Claim; Medical Reports
As soon as possible, any person making claim must give us
                                                               Part Ill-Accidental Death Benefits-
written proof of claim including all details we may need to
determine the amount payable. We may also require any          Coverage VM
person making daim to submit to questioning under oath
and sign the transcript.                                       We will pay accidental death benefits to the personal
                                                               representative of the deceased injured person if death
The injured person may be required to take medical             occurs within one year from the date of the accident.
examinations by physicians we choose, as often as we           Payment will be made only when death is the result of
reasonably require. We must be given authorization to          bodily injury, sickness, or disease caused by an accident
obtain medical reports and other records pertinent to          arising from the use of a motor vehicle as a motor vehicle.
the claim.
                                                               Definitions
Subrogation Rights                                             1.   We, Us, or Our-means the Company as shown on the
When we pay, the injured person's rights of recovery                Policy Declarations.
from anyone else become ours, up to the amount we have
paid. The injured penon must protect these rights iind         2.   Injured Person-means
help us enforce them. However, our right to repayment is            a) you or a resident relative who sustains bodily injury,
subordinate to the insured's right to be fully compensated.              sickness, disease, or death arising out of the use of a
                                                                         motor vehicle.
                                                                    b)   any other person who sustains bodily injury,
Trust Agreement
                                                                         sickness, disease or death while in, on, getting into or
When we pay any person under this coverage:
                                                                         out of, or when struck as a pedestrian by the insured
1. We are entitled to repayment of amounts paid by us and
                                                                         Motor vehicle.
   related collection expenses out of the proceeds of any
   judgment or settlement that person recovers from any
                                                               3.   Insured Motor Vehicle-means a motor vehicle
   responsible party or insurer. We are entitled to recovery
                                                                    a) you own, and
   only after the person has been fully compensated.
                                                                    b) to which the bodily injury liability coverage of this
                                                                        policy applies, and for which a specific premium is
2.   All rights of recovery against any responsible party
                                                                        charged,and
     or insurer must be maintained and preserved for
                                                                    c) for which Coverage VM is indicated as applicable
     our benefit.
                                                                        on the Policy Declarations.
3.   Any legal expenses incurred by the injured person or
                                                               4.   Motor Vehicle-means a land motor vehicle or trailer
     us or both, whether incurred in an action for damages
                                                                    operated or designed for use on public roads.
     or otherwise, will be shared by the injured person and
     us in the proportion that each party benefits from
                                                               5.   Pedestrian-means any person not in, on, getting into or
     the recovery.
                                                                    out of a motor vehicle or a machine operated by a motor
                                                                    or engine, other than a motorcycle, motorized bicycle or
Non-Duplication Of Benefits                                         similar vehicle.
Regardless of the number of motor vehicles insured, or
the provisions of any other insurance provided under this      6.   Resident-means the physical presence in your
or any other automobile insurance policy, or laws providing         household with the intention to continue living there.
for automobile first party benefits without regard to fault
for motor or other vehicle accidents, no person may recover    7.   You or Your-means the policyholder named on the
duplicate benefits for medical and hospital benefits.               Policy Declarations.
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Auto Policy                                                                                                           Page 10 of 21
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Your Allstate agency is




8.   Bodily Injury-means bodily injury, sickness, disease or       8.   due to war, insurrection, rebellion or revolution.
     death, except that bodily injury does not include:
     a) any venereal disease;                                      9.   any person resulting from radioactive, toxic, explosive,
     b) herpes;                                                         or other hazardous properties of nuclear material.
     c) Acquired tmmune Deficiency Syndrome (AIDS);
     d) AIDS Related Complex (ARC);                                Limits Of Liability
     e) Hu""n Immunodeficiency Virus (HIV);                        The limit of our liability for Accidental Death Benefits is
     or any refated or resulting symptoms, effect, condition,      shown on the Policy Declarations. This is the maximum
     disease or illness.                                           amount we will pay on behalf of any deceased injured
                                                                   person, regardless of the number of vehicles insured
Exclusions-What fl Not (overed                                     under this or other policies.
This coverage does not apply to death sustained by
1. any person, if similar direct first party benefits are          Notice
    payable on behalf of that person as a named insured            Written notice of the accident must be sent to us or one
    or additional insured under any other automobile liability     of our authorized agents as soon as possible, by the Injured
    insurance policy. This exclusion does not apply to you or      person or someone on that person's behalf. This notice must
    a resident relative.                                           include the time, place, and circumstances of the accident
                                                                   and the identity of the injured person.
2.   any person while in, on, getting into or out of, or when a
     pedestrian struck by a motor vehicle owned by you             Proof Of Claim; Medical Reports
     or available for your regular use, which is not an insured    As soon as possible, we must be given written proof of claim.
     motor vehicle.                                                It must include all details we may need to determine if
                                                                   benefits are payable.
3.   to any resident relative arising from the use of a motor
     vehicle owned by or available for the regular use of that     The deceased injured person's representative must
     resident relative, which is not an insured motor vehicle.     authorize us to obtain medical reports and copies of records.

4.   any person, if that person's conduct contributed to the
                                                                   Adien Against Us
     death sustained
                                                                   No one may sue us under this coverage unless there is full
     a) as the result of an intentionally caused self-injury, or
                                                                   compliance with all the policy terms.
     b) while committing a felony, or while seeking to elude
         lawful apprehension or arrest by a law enforcement
         official.                                                 Part IV-Income Disability Benefits-
5.   any person while in, on, getting into or out of an insured
                                                                   Coverage VW
     motor vehicle while it is being used to carry persons or      We will pay the following income disability benefits to or on
     property for a charge.                                        behalf of the Injured person. Benefits will be paid only when
                                                                   bodily injury, sickness or disease is caused by an accident
6.   any person in the course of that person's occupation          arising from the use of a motor vehicle as a motor vehicle.
     while engaged in duties incidental to                         1. Wageloss
     a) the operation, loading or unloading of a vehicle                Loss of salary, wages, tips, commissions, fees, and other
         used to carry persons or property for a charge, or             work or employment earnings the injured person would
         a commercial motor vehicle.                                    have earned had that person not been injured. Coverage
     b) service as an assistant on a vehicle used to carry              begins 8 days after the date of the accident. Coverage
         persons or property for a charge, or a commercial              ends on the date the injured person is able to return to
         motor vehicle.                                                 work, or the expiration of 52 weeks from the eighth day
     c) the repair or servicing of motor vehicles.                      after the accident, whichever occurs first. Coverage also
                                                                        ends upon the death of the injured person.
7.   any person arising from the use of a motor vehicle as
     a residence or premises.
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2.   Essential Services Expenses                                   8.   Bodily Injury-means bodily injury, sickness, disease
     Reasonable expenses incurred by an injured person                  or death, except that bodily injury does not include:
     in obtaining from persons, other than members of the               a) any venereal disease;
     injured person's household, services the injured person            b) herpes;
     would have perfomied without income if that person                 c) Acquired Immune Deficiency Syndrome (AIDS);
     had not been injured. To be eligible for this benefit, the         d) AIDS Related Complex (ARC);
     injured 1Nrso1tmay not be a wage earner at the time                e) Human Immunodeficiency Virus (HIV);
     of the accident. Coverage begins 8 days after the date             or any related or resulting symptoms, effect, condition,
     of the accident. C:OVerage ends on the date the injured            disease or illness.
     person is able to perfarm the services, or the expiration
     of 52 weeks from the eighth day after the accident,           Exclusions-What Is Not Covered
     whichever occurs first.. Covera,e also ends upon the          This coverage does not apply to bodily injury, sickness,
     death of the Injured person.                                  or disease
                                                                   1. to any person, other than you or a resident relative, if
Definitions                                                             that person is entitled to similar direct first party benefits
1.   We, Us, or Our-means the Company as shown on the                   as a named insured or additional insured under any other
     Policy Declarations.                                               automobile liability insurance policy.

2.   Injured Person-means                                          2.   to any person while in, on, getting into or out of, or when
     a) you or a resident relative who sustains bodily                  a pedestrian struck by a motor vehicle owned by you or
          injury, sickness, or disease arising out of the use           available for your regular use, which is not an insured
          of a motor vehicle.                                           motor vehicle.
     b) any other person who sustains bodily injury,
          sickness, or disease while in, on, getting into or out   3.   to any resident relative arising from the use of a motor
          of, or when struck as a pedestrian by, the insured            v.hlcle owned by or available for the regular use of that
          motor vehicle.                                                r•ident relative, which is not an insured motor vehicle.

3.   Insured Motor Vehicle-means a motor vehicle                   4.   or benefits to any person, or that person's personal
     a) you own, and                                                    representative, if that person's conduct contributed to
     b) to which the bodily injury liability coverage of this           the bodily injury, sickness, or disease sustained
         policy applies, and for which a specific premium is            a) through intentionally causing a self-injury, or
         charged, and                                                   b) while committing a felony, or while seeking to elude
     c) for which Coverage VW is indicated as applicable on                 lawful apprehension or arrest by a law enforcement
         the Policy Declarations.                                           official.

4.   Motor Vehicle-means a land motor vehicle or trailer           5.   to any person while in, on, getting into or out of an
     operated or designed for use on public roads.                      insured motor vehicle while it is being used to carry
                                                                        persons or property for a charge.
5.   Pedestrian-means any person not in, on, getting into or
     out of a motor vehicle or a machine operated by a motor       6.   sustained by any person in the course of that person's
     or engine, other than a motorcycle, motorized bicycle or           occupation while engaged in duties incidental to
     similar vehicle.                                                   a) the operation, loading or unloading of a vehicle
                                                                            used to carry persons or property for a charge or
6.   Resident-means the physical presence in your                           a commercial motor vehicle.
     household with the intention to continue living there.             b) service as an assistant on a vehicle used to carry
                                                                            persons or property for a charge, or a commercial
7.   You or Your-means the policyholder named on the                        motor vehicle.
     Policy Declarations.                                               c) the repair or servicing of motor vehicles.

                                                                   7.   to any person arising from the use of a motor vehicle
                                                                        as a residence or premises.
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Policy number:
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Your Allstate agency is




8.   due to war, insurrection, rebellion or revolution.                responsible party or insurer. We are entitled to recovery
                                                                       only after the person has been fully compensated.
9.   resulting from radioactive, toxic, explosive, or other
     hazardous properties of nuclear material.                    2.   All rights of recovery against any responsible party
                                                                       or insurer must be maintained and preserved for
Limits Of Liabllity                                                    our benefit.
The limit of aur liabitity for Income Disability Benefits is
shown on the Policy Oeclarations. This is the maximum we          3.   Any legal expenses incurred by the injured person or
will pay for any lnjure.t perHn for any one motor vehicle              us or both, whether incurred in an action for damages
accident, regardless of the number of vehicles insured                 or otherwise, will be shared by the injured person and
under this or other policies. We will not pay more than                us in the proportion that each party benefits from
1. 70% of loss of weekly income, up to the weekly amount               the recovery.
     shown on the Policy Declarations for Wage Loss.
                                                                  Non-Duplication Of Benefits
2.   the weekly amount shown on the Policy Oeclarations           Regardless of the number of motor vehicles insured, or
     for Essential Services Expense.                              the provisions of any other insurance provided under this
                                                                  or any other automobile insurance policy, or laws providing
Payment for any period of less than one week will be based        for automobile first party benefits without regard to fault
on the number of workdays missed in proportion to the             for motor or other vehicle accidents, no person may recover
number of days normally worked per week.                          duplicate benefits for income disability benefits.

Damages payable under this coverage will be reduced by all        Action Against Us
amounts paid, payable, or required to be provided under any       No one may sue us under this coverage unless there is full
workers' compensation law, and any other similar automobile       compliance with all the policy terms.
medical and automobile direct first party benefits.

Notice
                                                                  Part V-Uninsured Motorists
Written notice of the accident must be sent to us or one          Insurance-Coverage SS
of our authorized agents as soon as possible, by the injured
person or someone on that person's behalf. This notice must
                                                                  Underinsured Motorists Insurance-
include the time, place, and circumstances of the accident        Coverage SU
and the identity of the injured person. If an injured person or
someone on that person's behalf sues a third party to recover     If a limit of liability is shown on your Policy Declarations
damages from anyone believed responsible for the injury,          for Coverage SS, we will pay those damages that an insured
a copy of any summons, complaint, or other documents              person is legally entitled to recover from the owner or
pertaining to the lawsuit must be sent to us as soon              operator of an uninsured auto because of:
as possible.                                                      1. bodily injury sustained by an insured person, and

                                                                  2.   property damage. Property Damage is covered only if
Proof Of Claim; Medical Reports
                                                                       a separate limit is shown on the Policy Declarations for
As soon as possible, any person making claim must give us
                                                                       Uninsured Motorists Insurance-Property Damage. The
written proof of claim. The injured person may be required to
                                                                       first $200 of property damage is not covered. We will
take physical examinations by physicians we choose, as often
                                                                       not pay for property damage caused by an underinsured
as we reasonably require. We must be given authorization to
                                                                       motor vehicle.
obtain medical reports and copies of records.
                                                                       This deductible does not apply if:
Trust Agreement                                                        (1) the uninsured motorist is positively identified and
When we pay any person under this coverage:                                100% at fault, and
1. We are entitled to repayment of amounts paid by us and
   related collection expenses out of the proceeds of any
   judgment or settlement that person recovers from any
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                                                                                        ~ Allstate .
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     (2) the vehicle involved in the accident is insured by the         destroyed. The motor vehicle must be used with the
         same policy for both collision (Coverage DD or DE)             owner's permission. It can't be furnished for the regular
         and uninsured motorist property damage.                        use of you or any resident relative.

     We will not pay any punitive or exemplary damages             4.   a motor vehicle not owned by you or a resident relative,
     which are damages which may be imposed to punish                   if being operated by you with the owner's permission.
     a wrongdoer and to deter others from similar conduct.              The motor vehicle can't be furnished for the regular
                                                                        use of you or any resident relative.
     The bodily fnJury or a,ro,erty damage must be caused
     by accident and arise out of the ownership, maintenance       An insured auto is not a motor vehicle made available for
     or use of an uninsured auto.                                  public hire by an insured person.

     If a limit of liability is shown on yo• Policy Declarations   An Uninsured Auto Is:
     for Coverage SU, we will pay all dama,es that an insured      1.   a motor vehicle which has no bodily injury or property
     person is legally entitled to recover from the owner or            damage liability bond or insurance policy in effect at the
     operator of an underinsured auto because of lledlly                time of the accident.
     Injury sustained by an insured person. The llodily
     injury must be caused by accident and arise out of the        2.   a motor vehicle for which the insurer denies coverage,
     ownership, maintenance or use of an underinsured auto.             or the insurer becomes insolvent.

     If an insured person sues a person believed responsible       3.   a hit-and-run motor vehicle which causes:
     for the accident without our written consent, we aren't            a) bodily injury to an insured person by physical
     bound by any resulting judgment.                                        contact with the insured person or with a vehicle
                                                                             occupied by that person.
Insured Persons                                                         b) property damage by direct physical contact with
1.   You and any resident relative.                                          the insured auto.

2.   Any person while in, on, getting into or out of your                   The identity of the operator or owner of the vehicle
     insured auto with your permission.                                     must be unknown. The accident must be reported
                                                                            within 24 hours or as soon as reasonably possible to
3.   Any other person who is legally entitled to recover                    the police. We must be notified within 30 days. If the
     because of bodily injury to you, a resident relative,                  insured person was occupying a vehicle at the time
     or a permitted occupant of your insured auto.                          of the accident, we have a right to inspect it.

An Insured Auto Is:                                                An Underinsured Auto Is:
1.   an auto described on the Policy Declarations. This            a motor vehicle which has a bodily injury liability bond
     includes the motor vehicle you replace it with. However,      or bodily injury liability insurance in effect and applicable
     you must notify us within 60 days of the replacement.         at the time of the accident, but less than the applicable
     You must also pay any additional premium.                     damages the insured person is legally entitled to recover.

2.   an auto you become the owner of during the policy             An Uninsured Auto Is Not:
     period. This additional motor vehicle will be covered         a motor vehicle that is lawfully self-insured.
     if we insure all other private passenger motor vehicles
     you own. You must, however, tell us within 60 days            Definitions
     after you acquire the motor vehicle. You must pay any         1.   We, Us, or Our-means the Company shown on the
     additional premium.                                                Policy DeclarationsPolicy Declarations.
3.   a motor vehicle not owned by you or a resident relative,      2.   Bodily Injury-means bodily injury, sickness, disease
     if being temporarily used while your insured auto is being         or death.
     serviced or repaired, or if your insured auto is stolen or
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Auto Policy                                                                                                            Page 14 of 21
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Your Allstate agency is




3.   Motor Vehicle-means a land motor vehicle or trailer              b.   "each accident" is the maximum that we will pay
     other than                                                            for all damages arising out of bodily injury to two
     a) a vehicle or other equipment designed for use off                  or more persons in any one motor vehicle accident.
         public roads, while not on public roads;                          This limit is subject to the limit for "each person."
     b) a vehicle operated on rails or crawler-treads; or             c.   "each accident" is the maximum that we will pay for
     c) a vehicle when used as a residence or premises.                    all property damage arising out of any one motor
                                                                           vehicle accident. Subject to this limit, our limit of
4.   Property Dam•e-means damage to or destruction of                      liability for property damage will be the lesser of:
     the insured auto by physical contact with the uninsured               1) the actual cash value of the insured auto; or
     auto but does not include the loss of use of the insured              2) the amount necessary to repair or replace the
     auto, or damage to personal property contained in the                      insured auto.
     insured auto.
                                                                 2.   These limits are the maximum we will pay for any one
5.   Resident-means the physical presence in your                     motor vehicle accident regardless of the number of:
     household with the intention to continue living there.           a.   claims made;
     Unmarried dependent children while temporan1y away               b.   vehicles or persons shown on the Policy
     from home will be considered residents, if they intend                Declarations;
     to continue to live in your household.                           c. vehicles involved in the accident.
                                                                      The Uninsured Motorists Coverage limits apply
6.   You or Your-means the policyholder named on the                  to each insured motor vehicle as shown on the
     Policy Declarations and that policyholder's resident             Policy Declarations.
     spouse.
                                                                 3.   We are not obligated to make any payment for bodily
7.   Punitive or Exemplary Damages-means damages                      injury under this coverage which arises out of the use of
     which may be imposed to punish a wrongdoer and to                an underinsured motor vehicle until after the limits of
     deter others from similar conduct.                               liability for all liability protection in effect and applicable
                                                                      at the time of the accident have been exhausted by
Exclusions-What Is Not Covered                                        payment of judgments or settlements.
We will not pay any damages an insured person is legally
entitled to recover because of:                                  4.   Subject to the above limits of liability, damages payable
1.   bodily injury or property damage sustained while in, on,         will be reduced by:
     getting into or out of or when struck by an uninsured or         a. all amounts paid by or on behalf of the owner or
     underinsured motor vehicle which is owned by you or a                 operator of the uninsured or underinsured auto
     resident relative.                                                    or anyone else responsible. This includes all sums
                                                                           paid under the bodily injury or property damage
2.   bodily Injury or property damage sustained while in, on,              liability coverage of any other policy.
     getting into or out of a vehicle you own which is insured        b. all amounts paid under Medical and Hospital
     for this coverage under another policy.                               Benefits, Accidental Death Benefits, or Income
                                                                           Disability Benefits coverages of any other
3.   any punitive or exemplary damages, regardless of any                  auto policy.
     other provision.
                                                                 If There Is Other Insurance
Limits Of Liability                                              If the insured person was in, on, getting into or out of a
1.   The coverage limit shown on the Policy Declarations for:    vehicle you do not own which is insured for this coverage
     a. "each person" is the maximum that we will pay            under another policy, this coverage will be in excess. This
         for all damages arising out of bodily injury to one     means that when the insured person is legally entitled to
         person in any one motor vehicle accident, including     recover damages in excess of the other policy limit, we will
         all damages sustained by anyone else as result of       only pay the amount by which the limit of liability of this
         that bodily injury.                                     policy exceeds the limit of liability of that policy.
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                                                                                       ~ Allstate .
Auto Policy
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Your Allstate agency is                                                                               You're in good hands.


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When this insurance covers a substitute auto or non-owned         Our Payment Of Loss
auto, we will pay only after all other collectible insurance      Any amount due is payable to the insured person, to the
has been exhausted. However, this does not include an auto        parent or guardian of an injured minor, or to the spouse
loaned by a duly licensed automobile dealer as a temporary        of any insured person who dies. However, we may pay
substitute, with ot without compensation, to you for use as       any person lawfully entitled to recover the damages.
a temporary s.ibstitute vehicle while your auto is out of use
because of breakdown, repair, servicing or if the other auto      Action Against Us
is loaned by a chll)' licensed automobile dealer for use as       No one may sue us under this coverage unless there is full
a demonstrator vehicle. Our extension of uninsured and            compliance with all the policy terms.
underinsured motorists cOYetage will be primary only to
the extent of coverage to the aato being repaired or serviced.
                                                                  If We Cannot Agree
                                                                  If the insured person and we do not agree on that person's
If more than one policy applies to the accident on a primary
                                                                  right to receive any damages or the amount of that person's
basis, the total benefits payable to any one person will not
                                                                  damages, then the disagreement will be resolved in a court of
exceed the maximum benefits payable by the policy with
                                                                  competent jurisdiction. Cost, including attorney fees, are to
the highest limit for uninsured motorists coverage. We will
                                                                  be paid by the party incurring them.
bear our proportionate share with othet' uninsured motorists
benefits. This applies no matter how many autos Qr auto
policies may be involved whether written by us or another         Part VI-Protection Against Loss To
company.
                                                                  The Auto
With respect to property damaIe, this coverage will be            The following coverages apply when indicated on the Policy
excess to any other valid and collectible insurance against       Declarations. Additional payments, autos insured, definitions,
property damap.                                                   exclusions, and other information applicable to all these
                                                                  coverages appear beginning on page 17.
Proof Of Claim; Medical Reports
As soon as possible, any person making a claim must give us       Auto ColHsion Insurance-Coverage DD
written proof of claim. It must include all details we may need   We will pay for direct and accidental loss to your insured
to determine the amounts payable. We may also require any         auto or a non-owned auto (including insured loss to an
person making claim to submit to questioning under oath and       attached trailer) from a collision with another object or by
sign the transcript.                                              upset of that auto or trailer. The deductible amount won't be
                                                                  subtracted from the loss payment in collisions involving your
The insured person may be required to take medical                insured auto and another auto insured by us.
examinations by physicians we choose, as often as we
reasonably require. We must be given authorization to
                                                                  Diminishing Deductible Auto Collision Insurance-
obtain medical reports and copies of records.
                                                                  Coverage DE
                                                                  If the loss is $100 or more, we will pay for direct and
Assistance And Cooperation
                                                                  accidental loss to your insured auto or a non-owned auto
We may require the insured person to take proper action
                                                                  (including insured loss to an attached trailer) from a collision
to preserve all rights to recover damages from anyone
                                                                  with another object or by upset of that auto or trailer. No
responsible for the bodily injury or property damage.
                                                                  deductible applies to losses in excess of $100.

Trust Agreement                                                   If the loss is between $50 and $100, you pay the difference
When we pay any person under Uninsured Motorists                  between the amount of loss and $100. We will pay the rest
Insurance-Coverage SS, we are entitled to repayment of            of the loss up to our limits of liability.
amounts paid by us and related collection expenses out of
the proceeds of any settlement or judgment that person            If the loss is $50 or less, we will not make any payment.
recovers from any responsible party or insurer. We are
entitled to recovery only after the person has been fully
compensated.
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Your Allstate agency is




The deductible amount will not be subtracted from the loss        Rental Reimbursement Coverage-Coverage UU
payment in collisions involving your insured auto and another     If you have purchased Rental Reimbursement Coverage-
auto insured by us, even if the loss is $50 or less.              Covera1e UU and also have collision or comprehensive
                                                                  coverage under this policy and the loss involves either
Auto Comprellenslve Insurance-Coverage HH                         coverage, we will repay you for your cost of renting an
we will pay for direct and accidental loss to your insured auto   auto from a rental agency or garage. We will not pay
or a non-owned auta not caused by collision. Loss caused by       more than the dollar amount per day, shown on the
missiles, falling objects, fire, theft or larceny, explosion,     declarations. We won't pay mileage charges.
earthquake, windstorm, hail, water, flood, malicious mischief
or vandalism, and riot or civff commotion is covered. Glass       If your insured auto is stolen, payment for transportation
breakage, whether or not caused by collision, and collision       expenses will be made under the terms of paragraph 3. under
with a bird or animal is covered.                                 Additional Payments We Will Make. However, the limits for
                                                                  this coverage will apply if they exceed the limits stated under
The deductible amount will not be subtracted from the loss        Additional Payments We Will Make.
payment when the loss is caused by a peril listed under
Coverage HE.                                                      If your insured auto is disabled by a collision or
                                                                  comprehensive loss, coverage starts the day of the loss. If
Auto Fire, Lightning And Transportallo•                           it is drivable, coverage starts the day the auto is taken to the
Insurance-Coverage HE                                             garage for repairs.
We will pay for direct and accidental loss to your insured
auto or a non-owned auto due to:                                  Coverage ends when whichever of the following occurs first:
1. fire or lightning.                                             1. if the auto is disabled by a collision or comprehensive
                                                                     loss, completion of repairs or replacement of the auto;
2.   smoke or smudge due to a sudden, unusual and faulty
     operation of any fixed heating equipment serving the         2.   if the auto is stolen, when we offer settlement or your
     premises in which the auto is located.                            allto is returned to use; or

3.   stranding, sinking, burning, collision or derailment of      3.   thirty full days of coverage.
     any conveyance in or upon which the auto is being
     transported on land or on water.                             Sound System Coverage-Coverage ZA
                                                                  We will pay for loss to a permanently installed sound system,
Auto Theft Insurance-Coverage HF                                  its antenna and other apparatus specifically used with the
We will pay for direct and accidental loss to your insured        sound reproducing, recording, transmitting or receiving
auto or a non-owned auto caused by theft or larceny.              system. Coverage applies only to equipment permanently
                                                                  attached by bolts, brackets or in some other manner in any
                                                                  location not designed by the car's manufacturer for the
Auto Fire, Lightning, Transportation And Theft                    installation of a radio.
Insurance-Coverage HG
We will pay for direct and accidental loss to your insured        This coverage applies only if you have comprehensive
auto or a non-owned auto caused by any peril under                insurance under this policy. Coverage ZA makes sound
Coverages HE or HF above.                                         systems, antennas and other apparatus specifically used with
                                                                  the sound system insured property under comprehensive and
Towing And Labor Costs-Coverage JJ                                collision insurance.
We will pay costs for labor done at the initial place of
disablement of your insured auto or a non-owned auto. We          Tape Coverage-Coverage ZZ
will also pay for towing made necessary by the disablement.       We will pay for loss to any tapes or similar items used with
The total limit of our liability for each loss is shown on the    auto sound systems. Coverage applies to property you or a
Policy Declarations.                                              resident relative own that is in or on your insured auto at
                                                                  the time of loss. The total limit of our liability for each loss
                                                                  is shown on the Policy Declarations.
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This coverage applies only if you have comprehensive                    auto you replace it with if you notify us within 60 days
insurance under this policy. Coverage ZZ makes tapes or                 of the replacement and pay the additional premium.
similar items insured properly under your comprehensive
insurance.                                                         2.   An additional four-wheel private passenger auto
                                                                        or utility auto you become the owner of during the
Additional Payments We Will Make                                        premium period. This auto will be covered if we insure all
1.   We will pay up to $200 for loss of clothing and personal           other private passenger autos or utility autos you own.
     luggage, includmg its contents, belonging to you or a              You must, however, tell us within 60 days of acquiring
     resident relative while it is in or upon your insured auto.        the auto. You must pay any additional premium.
     This provision does not apP'Y if the insured auto is a
     travel-trailer.                                               3.   A substitute four-wheel private passenger auto or utility
                                                                        auto, not owned by you or a resident, temporarily used
     This coverage applies only when:                                   with the permission of the owner while your insured auto
     a) the loss is caused by collision and you have                    is being serviced or repaired, or if your insured auto is
         purchased collision insurance.                                 stolen or destroyed.
     b) the entire auto is stolen, and,ou have purchased
         comprehensive insurance.                                  4.   A non-owned four-wheel private passenger auto or
     c) physical damage is done to the aute and to the                  utility auto used by you or a resident relative with the
         clothing and luggage caused by earthquake,                     owner's permission. This auto must not be available or
         explosion, falling objects, fire, lightning, or flood          furnished for the regular use of you or any resident.
         and you have purchased comprehensive insurance.
                                                                   5.   A trailer while attached to an insured auto. This trailer
2.   We will repay you up to $10 for the cost of                        must be designed for use with a private passenger auto.
     transportation from the place of theft of your insured             This trailer can't be used for business purposes with
     auto or disablement of the auto to your destination, if            other than a private passenger auto or utility auto.
     a) the entire auto is stolen and you have                          Home, office, store, display, or passenger trailers,
         comprehensive coverage under this policy.                      tnvel-trailers or camper units are not covered unless
     b) the auto is disabled by a collision or comprehensive            described on the Policy Declarations.
         loss, and you have the coverage under this policy
         applicable to the loss.                                   Definftiens
                                                                   1.   We, Us, or Our-means the Company as shown on the
     This provision does not apply if the insured auto is a             Policy Declarations.
     travel-trailer.
                                                                   2.   Auto-means a land motor vehicle designed for use on
3.   If you have comprehensive insurance under this policy,             public roads.
     we will repay up to $10 a day but not more than $300 for
     each loss for the cost of transportation when the entire      3.   Camper unit-means an automobile body designed for
     auto is stolen. This coverage begins 48 hours after you            use as temporary living quarters and constructed as a
     report the theft to us, but ends when we offer settlement          demountable unit. A camper unit includes caps, toppers,
     or your auto is returned to use.                                   canopies, and all equipment and accessories built into
                                                                        and forming a permanent part of the structure. However,
4.   If you have purchased collision or comprehensive                   a camper unit will not include radio or television
     insurance under this policy, we will pay general average           antennas, awnings, cabanas, or equipment designed to
     and salvage charges imposed when your insured auto is              create additional living facilities while off a highway.
     being transported.
                                                                   4.   Motor home-means a self-propelled vehicle equipped,
Insured Autos                                                           designed or used as a living quarters.
1.   Any auto described on the Policy Declarations. This
     includes the four-wheel private passenger auto or utility     5.   Resident-means the physical presence in your
                                                                        household with the intention to continue living there.
                                                                        Unmarried dependent children temporarily away from
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     home will be considered residents if they intend to               This exclusion will not apply if Coverage ZA
     continue to live in your household.                               is purchased.

6.   Travel-trailer-means a trailer of the house, cabin or        9.   loss to any tapes or similar items, unless you have
     camping type equipped or used as a living quarters.               tape coverage under this policy.

7.   Utility auto-means an auto of the pick-up body, sedan        10. loss to a camper unit whether or not mounted. This
     delivery or panel truck type. This auto must have a rated         exclusion will not apply if the camper unit is described
     load capacity of not more than 2,000 pounds.                      on the Policy Declarations.

8.   You or Your-means the poticyholder named on the              11. loss to appliances, furniture, equipment and accessories
     Policy Declarations and that policyholder's resident             that are not built into or forming a permanent part of a
     spouse.                                                          motor home or travel-trailer.

Exclusions-What Is Not Cover_,                                    12. loss to your motor home or your travel-trailer while
These coverages don't apply to:                                       rented to anyone else unless a specific premium is
1. loss caused intentionally by or at the direction of an             shown on the declarations page for the rented vehicle.
    insured person.
                                                                  Right To Appraisal
2.   any auto used for the transportation of people or            Both you and we may agree to a voluntary, non-binding
     properly for a fee. This exclusion does not apply to         appraisal of the loss. You and we will appoint and pay a
     shared-expense car pools.                                    ctwalified appraiser. Other appraisal expenses will be shared
                                                                  ~ually. The two appraisers, or a judge of a court of record,
3.   any damage or loss resulting from any act of war,            will choose an umpire. Each appraiser will state the actual
     insurrection, rebellion or revolution.                       cash value and the amount of loss. If they disagree, they'll
                                                                  submit their difference to an umpire. A written decision by
4.   loss to any non-owned auto used in auto business             any two of these three people will determine the amount of
     operations such as repairing, servicing, testing, washing,   the loss. We do not waive any of our rights under this policy
     parking, storing or selling of autos.                        by agreeing to an appraisal.

5.   loss due to radioactive contamination.                       Our Payment Of Loss
                                                                  We may pay for the loss in money, or may repair or replace
6.   damage resulting from wear and tear, freezing,               the damaged or stolen property. We may, at any time before
     mechanical or electrical breakdown unless the damage         the loss is paid or the property is replaced, return at our own
     is the burning of wiring used to connect electrical          expense any stolen properly, either to you or at our option to
     components, or the result of other loss covered by           the address shown on the Policy Declarations, with payment
     this policy.                                                 for any resulting damage. We may take all or part of the
                                                                  property at the agreed or appraised value. We may settle
7.   tires unless stolen or damaged by fire, malicious mischief
                                                                  any claim or loss either with you or the owner of the property.
     or vandalism. Coverage is provided if the damage to tires
     occurs at the same time and from the same cause as
     other loss covered by this policy.
                                                                  Limits Of Liability
                                                                  Our limit of liability is the least of:
8.   loss to any sound reproducing, recording, transmitting,      1. the actual cash value of the property or damaged part
     or receiving system located in your auto, including any          of the property at the time of loss, which may include a
     antenna or other apparatus in or on the auto designed            deduction for depreciation; or
     for use with the sound system, unless the system is
                                                                  2.   the cost to repair or replace the property or part to
     permanently installed:
                                                                       its physical condition at the time of loss using parts
     a) in the dashboard; or
                                                                       produced by or for the vehicle's manufacturer, or parts
     b) in another location specifically designed by the
                                                                       from other sources, including, but not limited to,
          auto manufacturer for installation of a radio.
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     non-original equipment manufacturers, subject to              Action Against Us
     applicable state laws and regulations; or                     No one may sue us under this coverage unless there is full
                                                                   compliance with all the policy terms.
3.   $500, if the loss is to a covered trailer not described on
     the Policy Declarations.                                      Subrogation Rights
                                                                   When we pay, your rights of recovery from anyone else
Any applicable deductible amount is then subtracted.
                                                                   become ours up to the amount we have paid. You must
                                                                   protect these rights and help us enforce them. However,
If we, at our option, e1ed: to pay for the cost to repair or
                                                                   our right to repayment is subordinate to the insured's right
replace the property or part. our liability does not include
                                                                   to be fully compensated.
any decrease in the property's value, however measured,
resulting from the loss and/or repair or replacement. If repair
or replacement results in the betterment of the property or        What You Must Do If There Is A Loss
part, you may be responsible, subject to applicable state laws     1.   As soon as possible any person making claim must
and regulations, for the amount of ttie betterment.                     give us written proof of loss. It must include all details
                                                                        reasonably required by us. We have the right to inspect
An auto and attached trailer are considered separate autos,             the damaged property. We may require any person
and you must pay the deductible, if any, on each. Only one              making claim to file with us a sworn proof of loss. We
deductible will apply to an auto with a mounted    c....,.
                                                        unit.           may also require that person to submit to examinations
                                                                        under oath.
If unmounted, a separate deductible will apply to theaato
and camper unit.
                                                                   2.   Protect the auto from further loss. We will pay
When more than one coverage is applicable to the loss,                  reasonable expenses to guard against further loss. if
you may recover under the broadest coverage but not both.               you don't protect the auto, further loss is not covered.
However, Coverage ZA, if purchased, will provide coverage
in excess of the limit for loss to sound systems provided          3.   Report all theft losses promptly to the police.
under Coverage HH.
                                                                   loss Payable Clause
If There Is Other Insurance                                        If a Lienholder and/or Lessor is shown on the Policy
If there is other insurance covering the loss at the time of the   Declarations, we may pay loss or damage under this policy
accident, we will pay our share of any damages. Our share is       to you and the Lienholder and/or Lessor as its interest may
determined by adding the limits of this insurance to the limits    appear, except:
of all other insurance that applies on the same basis and          1. Where fraud, misrepresentation, material omission, or
finding the percentage total that our limits represent.                 intentional damage has been committed by or at the
                                                                        direction of you.
When this insurance covers a substitute auto or non-owned
auto, we will pay only after all other collectible insurance       2.   When the vehicle(s) is intentionally damaged, destroyed
has been exhausted. However, this does not include an auto              or concealed by or at the direction of you or any owner.
loaned by a duly licensed automobile dealer as a temporary
substitute, with or without compensation, to you for use as        3.   When you or any owner makes fraudulent statement(s)
a temporary substitute vehicle while your auto is out of use            or engages in fraudulent conduct in connection with
because of breakdown, repair, servicing or if the other auto            any accident or loss for which coverage is sought.
is loaned by a duly licensed automobile dealer for use as a
                                                                   The Lienholder and/or Lessor must notify us of any change
demonstrator vehicle. Our extension of liability for physical
                                                                   in ownership or hazard that is known.
damage to the substitute or non-owned auto will be primary
only to the extent of coverage to the auto being repaired
                                                                   If you or any owner fails to render proof of loss within the
or serviced.
                                                                   time granted in the policy, the Lienholder and/or Lessor must
                                                                   do so within sixty days in the form and manner described in
When this insurance covers a replacement auto or
                                                                   the policy. The Lienholder and/or Lessor are subject to the
additional auto, this policy won't apply if you have
other collectible insurance.
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We may cancel this policy according to its terms. We will
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notify the Lienholder and/or Lessor at least ten days prior
                                                                                                               accidental death benefits ..............................................................10
to the date of cancellation that the cancellation is effective
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as to the interest oOhe Lienholder and/or Lessor.
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Whenever we pay theLienholder and/or Lessor any sum                                                            physical damage to the auto ........................................................ 18
for loss or damage under this policy, we will be subrogated                                                    Financial Responsibility..................................................................6
to the extent of payment to the rishts of the party to whom
payment was made. However, these subrogation provisions                                                        If There Is Other Insurance
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